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                                       Stern & Eisenberg, PC
                                      www.sterneisenberg.com                                Reply to:


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                                                                                           Suite 330,
                                                                                    Iselin, NJ 08830
                                          October 21, 2021                           (516) 630-0288
                                                                          Facsimile: (732) 726-8719




                                                           MEMO ENDORSED
United States District Court
for the Southern District of New York
Hon. Katherine Polk Failla, U.S.D.J.
Thurgood Marshall United States Courthouse
40 Foley Square
New York, New York 10007

RE:    Paper Profits, LLC v. Avila – Docket No. 21 Civ. 7762 (KPF) – Need For Stay

Hon. Judge Failla:

        We represent the Plaintiff in the above matter. Attached to this letter is a New York State
Hardship Declaration recently forwarded to us by counsel for the Defendant. Under New York law,
specifically, the New York State COVID-19 Emergency Eviction and Foreclosure Prevention Act,
the Defendant’s execution of the Hardship Declaration invokes an automatic stay on all judicial
foreclosures until January 15, 2022. As such, Plaintiff respectfully requests that a stay be placed on
this matter until then. Plaintiff is prepared to provide any additional information required by the
Court. We thank the Court for its time and consideration.

                                                                Sincerely,

                                                                Arsenio Rodriguez
                                                                Arsenio Rodriguez, Esquire
                                                                STERN & EISENBERG, PC
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Application GRANTED.

This case is STAYED through January 15, 2022.

Additionally, the initial pretrial conference in this matter is
ADJOURNED to January 16, 2022, at 10:00 a.m. The parties are
reminded to comply with the directions set forth in the Notice of
Initial Pretrial Conference. (Dkt. #16).

The Clerk of Court is directed to terminate the motion at docket
entry 17.


                                      SO ORDERED.
Dated:   October 25, 2021
         New York, New York


                                      HON. KATHERINE POLK FAILLA
                                      UNITED STATES DISTRICT JUDGE
